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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                        Filed: November 16, 2015
                                               No. 13-983V

* * * * * * * * * * * * * *                            *
JANET POWELL,                                          *
                                                       *        Joint Stipulation on Damages; Influenza
                  Petitioner,                          *        (Flu) Vaccine; Guillain-Barre Syndrome
                                                       *        (GBS)
v.                                                     *
                                                       *
SECRETARY OF HEALTH                                    *
AND HUMAN SERVICES,                                    *
                                                       *
                  Respondent.                          *
                                                       *
* * * * * * * * * * * * * *                            *

Franklin Caldwell, Jr., Esq., Maglio, Christopher & Toale, Sarasota, FL, for petitioner.
Jennifer Reynaud, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION ON JOINT STIPULATION1

Roth, Special Master:

       Janet Powell [“petitioner”] filed a petition for compensation under the National Vaccine
Injury Compensation Program2 on December 12, 2013. Petitioner alleges that she developed
Guillain-Barre Syndrome (“GBS”) as a result of receiving an influenza vaccination on October 6,
2011. See Stipulation, filed November 13, 2015, at ¶¶ 1-4. Respondent denies that the influenza
immunization caused petitioner’s injury. Stipulation at ¶ 6.

        Nevertheless, the parties have agreed to settle the case. On November 13, 2015, the
parties filed a joint stipulation agreeing to settle this case and describing the settlement terms.

         Respondent agrees to issue the following payment:

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review, I agree that the
identified material fits within the requirements of that provision, I will delete such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).


                                                           1
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             A lump sum of $70,000.00 in the form of a check payable to petitioner, Janet
             Powell. This amount represents compensation for all damages that would be available
             under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                                   s/ Mindy Michaels Roth
                                      Mindy Michaels Roth
                                      Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.
                                                         2
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